    USDC IN/ND case 2:21-cv-00373-JEM document 1 filed 11/24/21 page 1 of 4


                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION


 DENNIS KOZUBAL,

          Plaintiff,
                                                      Case No.
    v.
                                                      Jury Trial Demanded
 UNITED STATES OF AMERICA,

          Defendant.


                                           COMPLAINT

         Plaintiff Dennis Kozubal, through counsel, hereby alleges as follows for his Complaint

against Defendant United States of America:

         1.      On June 25, 2020, Mr. Kozubal was driving his Ford F-150 pick-up truck

northbound on Lake Kenoyer Road in Newton County, Indiana. United States Postal Service

(“USPS”) employee Wayne Schriner was carrying mail and driving his USPS vehicle

southbound on the same road.

         2.      When Mr. Kozubal approached a slight turn in the road, he saw Mr. Schriner’s

vehicle driving in an erratic pattern. Mr. Kozubal steered his truck to the right side of the road

until it was completely off the road. At that time, Mr. Schriner’s vehicle struck Mr. Kozubal’s

truck.

         3.      Mr. Schriner’s USPS vehicle, a 2018 Subaru, was modified so that he could drive

on the right side of the vehicle. Mr. Kozubal believes that the modifications to Mr. Schriner’s

USPS vehicle were improper and that Mr. Schriner was unable to control the vehicle.

         4.      As a result of the collision, Mr. Kozubal suffered bodily injury and lost personal

property, including the contents of his truck. His dog was injured, and Mr. Kozubal incurred
    USDC IN/ND case 2:21-cv-00373-JEM document 1 filed 11/24/21 page 2 of 4


veterinary bills as a result. Being without a working truck for a month following the accident,

Mr. Kozubal was unable to attend to projects and maintenance work. Mr. Kozubal still had to

pay an additional $27,000 to purchase a replacement truck.

        5.      In accordance with the Federal Tort Claims Act, 28 U.S.C. § 2671 et seq., Mr.

Kozubal timely filed an administrative claim on account of the foregoing. By letter dated May

25, 2021, the USPS denied Mr. Kozubal’s claim because Mr. Kozubal had “filed a claim with his

insurance carrier.”

        6.      Mr. Kozubal, in turn, filed a complaint in the Newton Superior Court. The United

States removed the action to this Court and stepped into the shoes of Mr. Schriner and the USPS

for purposes of the litigation, in the matter docketed in this Court under Case No. 21-217. Mr.

Kozubal did not dispute removal and voluntarily dismissed Case No. 21-217 so that he could

timely, and unequivocally, invoke federal jurisdiction in advance of the six-month deadline set in

28 U.S. Code § 2401.

        7.      Because all statutory prerequisites have been satisfied, Mr. Kozubal’s claims are

ripe for judicial review. Mr. Kozubal prays for swift relief.

                                            COUNT I
                                            Negligence

        8.      Mr. Kozubal incorporates the allegations in the foregoing paragraphs as if fully

set forth herein.

        9.      Mr. Schriner, a USPS employee carrying mail on an Indiana roadway, owed Mr.

Kozubal a duty of reasonable care during the events described herein.

        10.     Mr. Schriner breached that duty, including by failing to maintain control of his

modified USPS vehicle, losing control of that vehicle, moving into the opposing lane of traffic,




                                                 2
    USDC IN/ND case 2:21-cv-00373-JEM document 1 filed 11/24/21 page 3 of 4


failing to maintain a proper lookout, failing to yield, and ultimately colliding with Mr. Kozubal’s

truck.

         11.    Mr. Kozubal used his best efforts to avoid a collision, including by steering his

truck to the right side of the road and off the road.

         12.    Mr. Schriner caused the accident by losing control of his USPS vehicle, steering

into the opposing lane of traffic, failing to maintain a proper lookout, failing to yield, and

ultimately colliding with Mr. Kozubal’s truck, all despite Mr. Kozubal’s efforts to avoid a

collision.

         13.    The accident damaged Mr. Kozubal as described herein.

         WHEREFORE, Mr. Kozubal requests that the Court enter judgment in his favor and

against the Defendant, and award him monetary damages, prejudgment interest, costs of suit, and

all other relief that the Court may deem just and proper.

                                           Jury Demand

         Pursuant to Fed. R. Civ. P. 38 and the Seventh Amendment to the United States

Constitution, Mr. Kozubal demands trial by jury of all issues so triable.



Dated: November 24, 2021                               By: /s/ Daniel I. Faichney

                                                         Tomas M. Thompson
                                                         Daniel I. Faichney
                                                         THOMPSON LEGAL LLC
                                                         542 S. Dearborn, 10th Floor
                                                         Chicago, IL 60605
                                                         Tel.: (312) 965-8934
                                                         tom@thompsonlegal.org
                                                         dfaichney@thompsonlegal.org

                                                         Daniel C. Blaney
                                                         Atty No. 2772-98
                                                         BLANEY & WALTON


                                                   3
USDC IN/ND case 2:21-cv-00373-JEM document 1 filed 11/24/21 page 4 of 4


                                       124 East State Street
                                       P.O. Box 500
                                       Morocco, IN 47963
                                       Tel.: (219) 285-2008

                                       Attorneys for Dennis Kozubal




                                   4
